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  1                     IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
  2                              EASTERN DIVISION

  3    STANLEY BOIM, Individually and  )
       as Administrator of the Estate  )
  4    of David Boim, deceased, and    )
       JOYCE BOIM,                     )
  5                                    )
                   Plaintiffs,         )
  6                                    )
         v.                            )           No. 17 C 3591
  7                                    )
       AMERICAN MUSLIMS FOR PALESTINE, )
  8    AMERICANS FOR JUSTICE IN        )
       PALESTINE EDUCATIONAL           )
  9    FOUNDATION, RAFEEQ JABER,       )
       ABDELBASET HAMAYEL, AND OSAMA   )
 10    ABUIRSHAID,                     )           Chicago, Illinois
                                       )           February 6, 2019
 11                Defendants.         )           9:00 a.m.

 12                         TRANSCRIPT OF PROCEEDINGS
                   BEFORE THE HONORABLE SHARON JOHNSON COLEMAN
 13
       APPEARANCES:
 14
       For the Plaintiffs:               LOCKE LORD LLP
 15                                      BY: MR. WILLIAM ALLEN WOOLLEY
                                         111 South Wacker Drive
 16                                      Chicago, Illinois 60606

 17                                      JASZCZUK P.C.
                                         BY: MR. DANIEL I. SCHLESSINGER
 18                                      311 South Wacker Drive
                                         Suite 1775
 19                                      Chicago, Illinois 60606

 20    For the Defendants:               CONSTITUTIONAL LAW CENTER FOR
                                         MUSLIMS IN AMERICA
 21                                      BY: MS. CHRISTINA ANNE JUMP
                                         833 East Arapaho Road
 22                                      Suite 102
                                         Richardson, Texas 75081
 23

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 25
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  1      (Proceedings had in open court:)

  2               THE CLERK:     17 CV 3591, Boim v. American Muslims for

  3    Palestine.

  4               THE COURT:     All right.      Pass it.

  5      (Whereupon the Court gave its attention to other matters,

  6        after which the following proceedings were had in open

  7        court:)

  8               THE CLERK:     Recalling, 17 CV 3591, Boim v. American

  9    Muslims for Palestine.

 10               MR. WOOLLEY:      Good morning, your Honor.         Allen

 11    Woolley and Dan Schlessinger here on behalf of the plaintiffs.

 12               THE COURT:     Thank you.

 13               MS. JUMP:     Good morning, your Honor.         Christina Jump

 14    on behalf of the defendants.

 15               THE COURT:     All right.      So what's happening with the

 16    discovery?     I believe we're still just on the jurisdictional

 17    discovery; is that correct?

 18               MR. WOOLLEY:      Yeah.    We're pleased to report, your

 19    Honor, that we finished the jurisdictional discovery up at the

 20    end of January.

 21               THE COURT:     Good.

 22               MR. WOOLLEY:      We were just in front of Judge

 23    Schenkier and reported the same to him.

 24               THE COURT:     Good.

 25               MR. WOOLLEY:      I think the next step, from the
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  1    plaintiffs' perspective, is that we would like to ask your

  2    Honor for leave to file an amended complaint; and I think it

  3    would be appropriate to set a date for us to do that.                We are

  4    digesting quite a bit of discovery material right now and feel

  5    that in light of the proceedings we've had in the past in this

  6    case on the jurisdiction issue, that it would be appropriate

  7    for the amended complaint to be quite a bit more detailed than

  8    the original complaint was.         And so what we'd like to propose

  9    is that we would file a motion for leave to file an amended

 10    complaint by the 29th of March.

 11               THE COURT:     Your position?

 12               MS. JUMP:     Your Honor, not surprisingly, defendants

 13    object to that.      There's a motion to dismiss that's been filed

 14    on the complaint that is live in this case.              We'd request that

 15    the ruling be finalized.         If there's additional briefing which

 16    the Court would like to entertain based on the additional

 17    jurisdictional discovery which the plaintiffs requested

 18    pertaining to that current pending -- or existing motion on

 19    the live complaint, then we would request a schedule for both

 20    parties to do any additional briefing regarding that.                A

 21    motion for leave to amend at this point, prior to finalizing a

 22    ruling on the existing motion to dismiss as to the live

 23    complaint, we object to.         But otherwise we would want to see

 24    what -- obviously what the amended -- proposed amended

 25    complaint is.      We have some concerns about futility.            So we
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  1    would certainly have -- want the opportunity to respond based

  2    on whatever that complaint is.

  3                The discovery has been going on in this matter for

  4    roughly a year, your Honor.         Anything new to digest is recent

  5    based on limited depositions that were limited to three hours,

  6    in the case of two recent depositions, and one hour as to an

  7    additional telephone-only deposition that the plaintiffs had

  8    requested.     So there's not new volume which has been added

  9    recently.     The voluminous materials were provided much

 10    earlier, and plaintiffs have had sufficient time to digest

 11    those.

 12                THE COURT:    When was your motion to dismiss filed?

 13                MR. WOOLLEY:     I believe it was the summer of 2017.

 14                THE COURT:    It's been a while I knew.

 15                MS. JUMP:    Yes, May of 2017, your Honor.

 16                MR. WOOLLEY:     The procedural history here was the

 17    motion to dismiss was filed.          In August of 2017, the Court

 18    granted the motion to dismiss.          We filed a motion for

 19    reconsideration; and in December of this -- of 2018, the Court

 20    granted the motion for reconsideration based on the decision

 21    that jurisdictional discovery should have been permitted.

 22    We've done the jurisdictional discovery.             The prior -- the

 23    prior order vacating the motion to dismiss was vacated.

 24                At this point, your Honor, we planned to ask the

 25    Court to file an amended complaint based on the jurisdictional
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  1    discovery that we took.        And I don't think there's much point

  2    in the Court having us do further briefing on and ruling on a

  3    motion to dismiss a complaint that we're asking to amend.

  4    And, you know, I think we're just asking for a reasonable time

  5    period.

  6               We will include -- to respond to counsel's concerns

  7    about seeing the amended complaint -- we will include a

  8    proposed amended complaint in the motion for leave to file the

  9    amended complaint.

 10               THE COURT:     So you want until the 29th to file the

 11    amended complaint?

 12               MR. WOOLLEY:      We would file the motion for leave to

 13    file an amended complaint, which would include a proposed

 14    amended complaint as an attachment.

 15               THE COURT:     Okay.     I just wanted to make sure it

 16    would be done and be there.

 17               MR. WOOLLEY:      Yes.

 18               THE COURT:     All right.      All right.     Over your

 19    objection, I'm going to allow that until the 29th.               There will

 20    be no extensions given to that.           All right.     This case --

 21    counsel is correct, it has been going on.             And let's go ahead

 22    and do -- you want a briefing schedule to that motion for

 23    leave to file amended complaint?

 24               MS. JUMP:     Yes, your Honor, I would.         And to clarify,

 25    when you said the 29th would be -- that would be March?
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  1               THE COURT:     March, March 29th.

  2               MS. JUMP:     Yes.

  3               THE COURT:     Yes, it's not a leap year.

  4               MS. JUMP:     There's no February 29th.

  5               THE COURT:     There's no leap year.

  6               All right.     So how long did you want to respond to

  7    the motion, understanding that I'm hoping that for the most

  8    part the Court can take it all together?

  9               MR. WOOLLEY:      Would it make sense to decide whether

 10    there needs to be a briefing schedule after we've seen the

 11    amended complaint to the motion or --

 12               MS. JUMP:     Your Honor, I can guarantee I'm going to

 13    want to respond.

 14               THE COURT:     Well, yes.      All right.     So how about --

 15    if you're responding just for leave, which will deal with a

 16    lot of the issues that are in the proposed amended complaint,

 17    how long are you going to need?

 18               MS. JUMP:     Your Honor, I would estimate I would need

 19    about 20 days.

 20               THE COURT:     All right.      Actually I'll round it up and

 21    give you 21 days.       Okay.

 22               THE CLERK:     That's April 19th.

 23               THE COURT:     And for purposes of for leave to file the

 24    amended complaint, if you need a reply, you get seven days.

 25    All right.     Again, this is not -- it's not going to be the
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  1    full-on motion to -- it's not a motion to dismiss the amended

  2    complaint.     It's just allowed to leave it -- to file it.              All

  3    right.    Seven days after the 21 days.

  4               THE CLERK:     April 26th.

  5               THE COURT:     All right.        And then let's do the

  6    beginning of June, status.            I will have ruled by then.

  7               THE CLERK:     June 3rd at 9:00 a.m.

  8               THE COURT:     All right.        Is there anything else?

  9               MR. WOOLLEY:      That's it, your Honor.

 10               MS. JUMP:     No, your Honor.

 11               THE COURT:     Thank you.

 12               MR. WOOLLEY:      Thank you, your Honor.

 13               MR. SCHLESSINGER:          Thank you.

 14      (Which were all the proceedings heard.)

 15                                 *    *     *    *     *

 16

 17    I certify that the foregoing is a correct transcript from the
       record of proceedings in the above-entitled matter.
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 19
       /s/ Nancy C. LaBella                                   February 21, 2019
 20    Official Court Reporter

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